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		2016-04-20-03 
	


  







The Supreme Court of South Carolina

  
    
      
        Re: Limited  Certificate of Admission for Military Spouse Attorneys
        Appellate  Case No. 2015-001545
      
    
  


ORDER

The South Carolina Military Spouse JD Network has petitioned the Court  to adopt a rule permitting Military Spouse Attorneys to be issued a limited  certificate of admission in South Carolina.&nbsp;  In recognition of the hardships faced by Military Spouse Attorneys, who must  frequently relocate when their service member spouses are ordered transferred  to new locations, and after review of similar rules in numerous other  jurisdictions, we grant the request.
In accordance with Article V, § 4 of the South  Carolina Constitution, we adopt Rule 430, SCACR, as set forth in the attachment  to this Order.&nbsp; Furthermore, we amend  Rules 403 and 410, SCACR, to reflect the adoption of Rule 430.&nbsp; These amendments are effective May 16,  2016.
&nbsp;

  
    
    
      s/Costa M. Pleicones&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C.J.
        
        s/Donald W. Beatty&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/John W. Kittredge&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/Kaye G. Hearn&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
        s/John Cannon Few&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
    
  

Columbia, South Carolina
April 20, 2016


Rule 430, SCACR, is adopted and provides as follows:
RULE 430
  LIMITED CERTIFICATE OF ADMISSION FOR  MILITARY SPOUSE ATTORNEYS
(a) Purpose. The purpose of this rule is allow military spouse attorneys to obtain a limited  certificate to practice law to represent clients before a court or  administrative tribunal in South Carolina.
(b) Qualifications for Admission. The Supreme Court may issue a limited certificate of  admission to practice in South Carolina to any person who:

  (1) is at least twenty-one (21) years of age; 
  (2) is a person of good moral character;
  (3) has received a JD or LLB degree from a law school  which was approved by the Council of Legal Education of the American Bar  Association at the time the degree was conferred; 
  (4) has been admitted to practice law in the highest  court of another state, the District of Columbia, or a territory of the United  States; 
  (5) is a member in good standing in each jurisdiction  where the attorney is admitted to practice law; 
  (6) has not been disbarred or suspended from the practice  of law and is not the subject of any pending disciplinary proceeding in any  other jurisdiction; 
  (7) is the dependent spouse of an active duty service  member of the United States Uniformed Services as defined by the Department of  Defense (or, for the Coast Guard when it is not operating as a service in the  Navy, by the Department of Homeland Security) and the service member is on  Permanent Change of Station (PCS) orders stationed in South Carolina;
  (8) has never failed the South Carolina Bar Examination; 
  (9) is physically residing in South Carolina;
  (10) has completed or has registered for and will attend  within three months of admission the Bridge the Gap program administered by the  South Carolina Bar. This course may be completed either live or online. The  South Carolina Bar shall make this course available to military spouse  attorneys seeking admission under the rule either without a fee or for a  minimal fee; and
  (11) has completed or has registered for and will attend  within the first year of practice an Essential Series Course administered by  the South Carolina Bar.


(c) Application. An  attorney desiring a limited certificate of admission to practice law under this  rule shall file an application with the Clerk of the Supreme Court. This  application shall be on a form approved by the Supreme Court. The application  shall be accompanied by:

  (1) a certificate of good standing from each jurisdiction  in which the attorney has been admitted to practice law; 
  (2) a copy of his or her United States Uniformed Services  Identification and Privilege Card evidencing marriage to the active duty  service member; and 
  (3) a copy of the active duty service member spouse's  orders. 

No filing fee shall be required for the  application.
(d) Reference to the Committee on  Character and Fitness. Any questions  concerning the fitness or qualifications of the attorney may be referred by the  Supreme Court to the Committee on Character and Fitness for a hearing and  recommendation. 
(e) Confidentiality. The confidentiality provisions of Rule 402(n), SCACR,  shall apply to all files and records of the Committee on Character and Fitness,  and the Clerk of the Supreme Court relating to a limited certificate to  practice law under this rule. 
(f) Scope of Representation and Adherence to Rules. An attorney issued a limited certificate under this  rule and meeting the requirements of Rule 403, SCACR, may represent clients  before a court or administrative tribunal of this State in any proceeding. In  providing representation, the attorney shall comply with the rules of practice  and procedure applicable to the court or tribunal, and shall adhere to the  South Carolina Rules of Professional Conduct and any other ethical rules  applicable to this matter. The attorney shall also comply with the continuing  legal education requirements of Rule 408, SCACR, and the mandatory mentorship  requirements of Rule 425, SCACR. Attorneys issued a limited certificate shall  pay a licensing fee as provided in Rule 410(j)(8), SCACR. The failure to do so  may result in administrative suspension under Rule 419, SCACR.
(g) Unauthorized Practice. If an attorney granted a limited certificate engages  in the practice of law in excess of that permitted by this rule, the attorney  may be subject to discipline under Rule 413, SCACR, a revocation of the limited  certificate by the Supreme Court, or being held in contempt of the Supreme  Court for engaging in the unauthorized practice of law.
(h) Misconduct and Incapacity. Except as otherwise provided in this rule, the  procedures provided by Rule 413, SCACR, shall be used for resolving allegations  that the attorney has committee ethical misconduct or suffers from a physical  or mental condition which adversely affects the attorney's ability to practice  law. If, however, the Supreme Court imposes a definite suspension or  disbarment, or transfers the attorney to incapacity inactive status, the  limited certificate shall be terminated as provided in (i) below. Unless  otherwise ordered by the Court, the lawyer may not seek to be readmitted under  this rule or any other rule until the period of suspension has expired, or, in  the case of disbarment, until five years after the date of the opinion or order  imposing the disbarment. 
(i) Termination of Certificate. A limited certificate issued under this rule is valid  for a maximum of five years from the date of issuance. The limited certificate  of admission to practice law shall terminate if:

  (1) The limited certificate is revoked by the Supreme  Court under (h) above. 
  (2) The attorney is suspended or disbarred in this or any  other jurisdiction. This does not include interim suspensions under Rule 17 of  the Rules for Lawyer Disciplinary Enforcement contained in Rule 413, SCACR, or  a similar rule in another jurisdiction. For an administrative suspension under  Rule 419, SCACR, the attorney may seek reinstatement as provided in that rule.

  (3) The attorney is admitted to practice in South  Carolina under another rule.
  (4) The attorney fails the South Carolina Bar Examination.
  (5) The attorney is denied admission to practice in South  Carolina under another rule.
  (6) The attorney's spouse is no longer on active duty or  is no longer assigned to a military installation located in South Carolina.  Attorneys have six months from the date of the issuance of a spouse's permanent  change of station (PCS) orders, retirement orders or other separation from the  active military service to surrender the Certificate.

(j) Resignation. Any request by an attorney licensed under this rule  shall be processed as provided by Rule 409, SCACR. 
(k) Surrender of Certificate. Except as provided in paragraph (i)(6), upon the  termination of the limited certificate or acceptance of a resignation, the  attorney granted the limited certificate shall surrender the certificate to the  Clerk of the Supreme Court. The failure to surrender the certificate upon  termination or the acceptance of a resignation may subject the attorney to  discipline under Rule 413, SCACR, or to being held in contempt of the Supreme  Court.
Adopted by Order dated April 20, 2016, effective May 16, 2016.\
Rule 403(a), SCACR, is amended to provide as follows:
RULE 403
  TRIAL EXPERIENCES
(a) General Rule. Although  admitted to practice law in this State, an attorney shall not appear as counsel  in any hearing, trial, or deposition in a case pending before a court of this  State until the attorney’s trial experiences required by this rule have been  approved by the Supreme Court. An attorney whose trial experiences have not  been approved may appear as counsel if the attorney is accompanied by an  attorney whose trial experiences have been approved under this rule or who is  exempt from this rule, and the other attorney is present throughout the  hearing, trial, or deposition. Attorneys admitted to practice law in this State  on or before March 1, 1979, are exempt from the requirements of this rule.  Except for Military Spouse Attorneys licensed under Rule 430, SCACR, attorneys  holding a limited certificate to practice law in this State need not comply  with the requirements of this rule.
Rule 410(h)(2), SCACR, is  amended to add paragraph (h)(2)(E), which provides as follows:
(E) Military Spouse Attorney Member - Rule 430 (Limited Certificate of  Admission for Military Spouse Attorneys). Any person who holds a limited certificate under Rule 430, SCACR.
Rule 410(k)(8), SCACR, is  amended to provide as follows:
(8) Limited Member. No fee  shall be required for a person holding a limited certificate under Rule 415  (Limited Certificate of Admission for Retired and Inactive Attorney Pro Bono  Participation Program), SCACR, or Rule 427 (Limited Certificate of Admission  for Judge Advocates), SCACR. The additional license fee for a person holding a  limited certificate under Rules 405 (Limited Certificate of Admission for  In-House Counsel), 414 (Limited Certificate of Admission for Clinical Law  Program Teachers), and 430 (Limited Certificate of Admission for Military  Spouse Attorneys), SCACR, shall be $20.
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